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  9                       UNITED STATES DISTRICT COURT

 10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
      LEAH FLORES, an individual,           CASE NO.: 2:21-2067-JVS (MAAx)
 12
                 Plaintiff,
 13        v.
                                            ORDER GRANTING JUDGMENT
 14                                         AND PERMANENT INJUNCTION ON
 15   ZOETOP BUSINESS CO., LIMITED,         ACCEPTED OFFER OF JUDGMENT
      a Hong Kong business entity; and      PURSUANT TO FED. R. CIV. P. 68
 16   DOES 1 through 10, inclusive,
 17                                         Date: June 2, 2021
                 Defendants.                Judge: James V. Selna
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 19                                         Action Filed: March 5, 2021
                                            Amended Complaint Filed: April 15, 2021
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      ORDER GRANTING JUDGMENT AND PERMANENT INJUNCTION ON ACCEPTED
              OFFER OF JUDGEMENT PURSUANT TO FED. R. CIV. P. 68
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  1         WHEREAS on May 21, 2021, Defendant ZOETOP BUSINESS CO., LIMITED
  2   (“Defendant”) made an Offer of Judgment to Plaintiff LEAH FLORES (“Plaintiff”)
  3   pursuant to Rule 68.
  4         WHEREAS on June 1, 2021, Plaintiff accepted Defendant’s Offer of Judgment
  5   pursuant to Rule 68.
  6         WHEREAS Plaintiff and Defendant (collectively, the “Parties”), have agreed to
  7   finally resolve all of Plaintiff’s claims against Defendant in the above-captioned
  8   litigation (the “Litigation”).
  9         WHEREAS the resolution of these disputes includes any potential claim by
 10   Plaintiff for damages and attorney’s fees and costs incurred to date in connection with
 11   the Litigation; and
 12         WHEREAS the Plaintiff and Defendant have agreed to entry of a Judgment and
 13   Permanent Injunction on the following terms;
 14         NOW THEREFORE IT IS HEREBY ORDERED, ADJUDGED, AND
 15   DECREED THAT:
 16             1. Judgment against Defendant in this Action on behalf of Plaintiff in the
 17                amount of $40,000 inclusive of all damages, attorney’s fees, costs,
 18                prejudgment interest, statutory damages or trebling, punitive or
 19                exemplary damages, and any other monetary recovery sought, to be paid
 20                pursuant to terms agreeable to both Plaintiff and Defendant, which shall
 21                be in resolution of any and all claims alleged by Plaintiff in this action.
 22             2. Defendant is hereby permanently enjoined and restrained from
 23                manufacturing, advertising, marketing, distributing, selling, or offering
 24                for sale in the United States the following products:
 25                    a. SKU shdecor18200525508 (home décor wall art);
 26                    b. SKU shpillow18210113156 (striped pillow); and
 27                    c. SKU shpillow18210222935 (beach pillow).
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      ORDER GRANTING JUDGMENT AND PERMANENT INJUNCTION ON ACCEPTED
              OFFER OF JUDGEMENT PURSUANT TO FED. R. CIV. P. 68
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  1           3. Any claims for damages and attorneys’ fees and costs related to this
  2              Litigation and incurred through the date of entry of this Judgment and
  3              Permanent Injunction have been resolved between the Parties and are
  4              hereby disposed of by this Order. Nothing herein will be construed to
  5              prohibit Plaintiff from seeking its attorneys’ fees and costs in connection
  6              with any actions taken to enforce this Judgment and Permanent Injunction
  7              in the future and nothing herein will be construed to prohibit Defendant
  8              from opposing such a request.
  9           4. This Court will maintain continuing jurisdiction over this action for the
 10              purpose of enforcing this Judgment and Permanent Injunction and
 11              Settlement Agreement. Plaintiff is authorized to seek to enforce the terms
 12              of this Judgment and Permanent Injunction, and Plaintiff will be entitled
 13              to its reasonable attorneys’ fees and costs incurred for any action to
 14              enforce the terms of this Judgment and Permanent Injunction based on
 15              Defendant’s failure to comply, in any way, with its obligations set forth
 16              within.
 17        LET JUDGMENT BE ENTERED ACCORDINGLY.
 18        SO ORDERED this 3d day of June 2021.
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 23                                         James V. Selna
                                            United States District Judge
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      ORDER GRANTING JUDGMENT AND PERMANENT INJUNCTION ON ACCEPTED
              OFFER OF JUDGEMENT PURSUANT TO FED. R. CIV. P. 68
